Case 1:17-cv-00312-LEW Document 3-6 Filed 08/17/17 Page1lof4 Pa

  

STATE OF MAINE SUPERIOR COURT
PENOBSCOT, ss. CIVIL ACTION
DOCKET NO, CV-17-79

JOSEPH McMULLIN,

Plaintiff
ANSWER AND AFFIRMATIVE
DEFENSES OF DEFENDANT
ANDREW W, PEIRSON

Vv.

ANDREW W. PEIRSON, in his
Individual capacity

a

Defendant

Defendant Andrew W, Peirson,(“Defendant”) answers Plaintiff Joseph MeMullin’s

Complaint dated May 26, 2017, which was served on the Defendant on July 18, 2017, as

follows:
L. Denied.
PARTIES
2. Defendant is without knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph and therefore denies them,
3, Defendant admits that at all times relevant to these claims, Andrew W. Peirson
was a law enforcement officer for the Maine State Police, acting under the color of state law as a

law enforcement officer, and is sued in his individual capacity. Defendant otherwise denies

 

paragraph 3,
STATEMENT OF FACTS
4, Admitted.
5, Admitted.

6. Adinitted,

 

 

 
Case 1:17-cv-00312-LEW Document 3-6 Filed 08/17/17 Page2of4 PagelD#: 21

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ae,

7. Defendant admits that two females were in Mr. McMullin’s vehicle when Trooper
Peirson made the stop. Defendant is otherwise without knowledge or information sufficient to
form a belief as to the truth of the allegations in this paragraph and therefore denies them,

8. Admitted,

9, Admitted.

10, Admitted that Trooper Peirson informed Mr. McMullin that he was going to place
him under arrest. Defendant otherwise denies paragraph 10.

11, Defendant is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph and therefore denies them.

12, Denied,

13, Denied.

14, Defendant admits that Trooper Peirson directed Mr, McMullin to put his hands
behind his back. Defendant otherwise denies paragraph 14.

18S. Denied,

16, Admitted,

17, Defendant admits that he grabbed one of Mt. McMullin’s arms, Defendant

otherwise denies paragraph 17.

18. — Denied.
19, Denied,
20. Denied
21. ~~ Denied.
22, Denied
23. Denied.

 
Case 1:17-cv-00312-LEW Document 3-6 Filed 08/17/17 Page3of4 PagelD#: 22

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24, Defendant is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph and therefore denies them,

25. Defendant is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph and therefore denies them,

26 ; Defendant is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph and therefore denies them.

CLAIMS FOR RELIEF

27, Defendant repeats and reasserts its responses to paragraphs | through 26 as if
fully set forth in its response to this paragraph.

28. Denied.

29, Defendant is without knowledge or information sufficient to form a belief as to
the truth of the allegations in this paragraph and therefore denies them,

REQUESTS FOR RELIEF
30, This paragraph contains no averments against the Defendant; to the extent there

are any, they are denied.

 

AFFIRMATIVE DEFENSES
1. Plaintiff fails to state a claim upon which relief may be granted.
2, Defendant’s conduct did not violate any clearly established statutory or

constitutional right of which a reasonable official would have known, and the Defendant is thus
entitled to qualified immunity,

3. The damages sought were the proximate result of the sole or comparatively
greater fault of the Plaintiff, which bars or reduces this claim.

4, Plaintiff's alleged injuries were proximately caused by an independent and

 
Case 1:17-cv-00312-LEW Document 3-6 Filed 08/17/17 Page4of4 PagelD#: 23

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efficient intervening cause and not by any conduct of the Defendant.
5, Defendant Peirson believed he was acting in good faith and in accordance with

the law at all times relative to the allegations described in Plaintiff's complaint,

WHEREFORE, Defendant requests that this Court dismiss the complaint, enter judgment

in the Defendant’s favor, and award Defendant his costs.

Dated at Augusta, Maine, on this 2" day of August, 2017,
Respectfully submitted,

JANET T. MILLS
Attorney General

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